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                   EXHIBIT A
          Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 2 of 25




 1 ANTHONY L. LABEL (SBN 205920)
   THEO EMISON (SBN 209183)
 2 STEVEN A. KRONENBERG (SBN 215541)                                            ELECTRONICALLY
   THE VEEN FIRM, LLP
 3 20 Haight Street                                                                 FILED
                                                                                Superior Court of California,
   San Francisco, California 94102                                               County of San Francisco
 4 Tel: (415) 673-4800
   Fax: (415) 771-5845                                                              05/02/2024
                                                                                 Clerk of the Court
 5 al.team@veenfirm.com                                                            BY: SHENEQUA GLADNEY
                                                                                             Deputy Clerk
 6 SHOUNAK S. DHARAP (SBN 311557) (ssd@arnslaw.com)
   ROBERT C. FOSS (SBN (SBN 275489) (rcf@arnslaw.com)
 7 KATHERINE A. RABAGO (SBN 333374) (kar@arnslaw.com
   ARNS DAVIS LAW
 8 515 Folsom St., 3rd Floor
   San Francisco, CA 94109
 9 Tel: (415) 495-7800
   Fax: (415) 495-7888
10
   ATTORNEYS FOR PLAINTIFFS
11
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                             COUNTY OF SAN FRANCISCO       CGC-24-614359
13

14
   VALERIE RASKIN; and,                                      CASE NO.
15 NEIL RASKIN,
                                                             COMPLAINT FOR DAMAGES AND
16                   Plaintiffs,                             DEMAND FOR JURY TRIAL
17            v.
18 BAUSCH & LOMB, INC.;
   WALGREENS;
19 WALGREENS BOOTS ALLIANCE, INC., and;
   DOES 1 – 100, inclusive,
20
                Defendants.
21

22
              Plaintiffs Valerie Raskin and Dr. Neil Raskin bring this action against Defendants Bausch
23
     & Lomb; Walgreens; Walgreens Boots Alliance, Inc.; and Does 1 through 100. Plaintiffs allege,
24
     upon information and belief, the investigation of counsel, and the facts that are a matter of public
25
     record, as follows:
26
                                       JURISDICTION AND VENUE
27
     1.       Jurisdiction and venue are proper in this Court because, inter alia, Plaintiff Valerie Raskin
28

                                                       -1-
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
        Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 3 of 25




 1 purchased PreserVision from a Walgreens in San Francisco County.

 2                                              PARTIES

 3 2.       Plaintiff Valerie Raskin is a resident of San Francisco County, California. She purchased

 4 and consumed PreserVision AREDS 2 (“PreserVision”), a product manufactured, distributed,

 5 and/or sold by Defendants, in San Francisco County. Mrs. Raskin suffered serious, disabling, and

 6 permanent side effects from PreserVision that have greatly impacted her quality of life and ability

 7 to function independently. At no time did any Defendant ever warn Mrs. Raskin of the serious and

 8 disabling potential side effects associated with PreserVision.

 9 3.       Plaintiff Neil Raskin is a resident of San Francisco County, California. Mr. and Mrs. Raskin

10 are, and at all relevant times have been, husband and wife. Mr. Raskin suffered a loss of consortium

11 resulting from Mrs. Raskin’s injuries related to her consumption of PreserVision.

12 4.       Defendant BAUSCH & LOMB, INC. (“B&L”) is a New York corporation with its principal

13 place of business in Rochester, New York. B&L is the manufacturer of PreserVision, and it markets

14 and sells its product in California.

15 5.       Defendants WALGREENS and WALGREENS BOOTS ALLIANCE, INC. (collectively

16 and individually, “WALGREENS”) are Delaware corporations with their principal place of

17 business in Deerfield, Illinois. WALGREENS sells PreserVision and Plaintiff Mrs. Raskin

18 purchased PreserVision from WALGREENS stores in California.

19 6.       Plaintiffs are unaware of the true names and capacities of the defendants sued herein as

20 DOES 1 – 100, inclusive, and therefore sue those Defendants by such fictitious names pursuant to

21 Code of Civil Procedure Section 474. Plaintiffs will amend this Complaint to allege their true

22 names, capacities and/or basis for liability when ascertained.

23 7.       Reference to “DEFENDANT” or “DEFENDANTS” shall refer individually and

24 collectively to each and every specifically and fictitiously named defendant.

25 8.       At all relevant times, each and every DEFENDANT was the actual or ostensible agent, joint

26 venturer, partner, and/or employee of each of the other remaining DEFENDANTS, and in doing

27 the things alleged in this complaint, was acting within the course and scope of that agency, joint

28 venture, partnership, and/or employment. To the extent certain acts and/or omissions were

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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1 perpetrated by certain DEFENDANTS, each and every other DEFENDANT authorized, consented

 2 to, confirmed, controlled and/or ratified each and every such act and/or omission.

 3 9.       Each and every DEFENDANT is responsible, strictly, negligently, recklessly, carelessly,

 4 intentionally, or in some other actionable manner, for the events and happenings referred to herein.

 5 Each plaintiff’s injuries, harms and damages were directly and proximately caused by each and

 6 every DEFENDANT. Plaintiffs are entitled to the relief requested herein against each and every

 7 DEFENDANT.

 8                                     FACTUAL ALLEGATIONS

 9 10.      B&L originally introduced PreserVision to the market in 2010. PreserVision is a nutritional

10 supplement that contains vitamins and high dose levels of zinc. It is intended to prevent and/or slow

11 the progression of age-related macular degeneration.

12 11.      By design, a daily dose of PreserVision contains 80mg of zinc. The Recommended Dietary

13 Allowance for zinc is 8mg per day for women. PreserVision’s daily dose of 80mg is over 700% of

14 the Recommended Dietary Allowance.

15 12.      Zinc plays a crucial role in the human immune system, as well as in protein synthesis and

16 wound healing. It is highly concentrated in the eye, suggesting that zinc plays a crucial role in eye

17 health—hence its inclusion in PreserVision. Zinc is absorbed in the small intestine, via a protein

18 called metallothionein, which binds various heavy metals and helps regulate their level in the body.

19 13.      Copper also binds to metallothionein. Copper plays a critical role in various neurological

20 processes and is necessary for neurotransmitter synthesis (and brain function), as well as the

21 formation and maintenance of myelin—the protective coating that sheathes nerve fibers and ensures

22 electrical signals are properly conducted along the nerves.

23 14.      When zinc intake is high, the body responds by increasing production of metallothionein.

24 This is so that the metallothionein can bind to the zinc, allowing it to be stored in a non-toxic form

25 that is ready to be utilized wherever needed.

26 15.      However, metallothionein has a higher binding affinity to copper than zinc, which means it

27 more readily binds to copper than it does to zinc. So, when the high zinc intake triggers the creation

28 of more metallothionein, that metallothionein more readily binds to copper, and in greater amounts.

                                                     -3-
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1 Once bound to copper, metallothionein keeps the copper in “storage” within the intestinal cells,

 2 rather than allowing it to be absorbed into the bloodstream, thus reducing the amount of bioavailable

 3 copper in the body. When the intestinal cells are shed through normal metabolic processes, the

 4 copper is shed as well, leading to an overall copper deficiency.

 5 16.       This problem can only be fixed by decreasing zinc levels to prevent the creation of excess

 6 metallothionein. Because of metallothionein’s higher binding affinity to copper, even an increase

 7 in copper through supplementation does not remedy the situation, as the increased amount of

 8 metallothionein triggered by the zinc intake continues to preferentially bind to the copper.

 9 17.       As B&L knew or should have known, and as was known within the scientific community,

10 at all relevant times: (i) excess supplementation with zinc was known to cause copper deficiency;

11 (ii) copper deficiency was known to cause copper deficiency myelopathy, a potentially debilitating

12 neurological syndrome clinically characterized by signs and symptoms related to posterior column

13 dysfunction, gait imbalance, peripheral neuropathy, sensory ataxia, and progressive numbness in

14 the extremities, among other disabling signs and symptoms; and (iii) excess zinc consumption was

15 known to be one of the leading causes of copper deficiency myelopathy.

16 18.       In an apparent effort to reduce the risk of copper deficiency and associated copper

17 deficiency myelopathy due to the high levels of zinc in PreserVision, in 2013 B&L changed the

18 PreserVision formula to include 2mg of copper in PreserVision’s daily dose. Unfortunately, an

19 increase in oral copper intake is ineffective in restoring the appropriate zinc-copper balance in the

20 presence of excess oral consumption of zinc. It follows that an increase in oral copper intake is also

21 ineffective in preventing the development of copper deficiency myelopathy and its associated array

22 of debilitating symptoms.

23 19.       Though B&L knew or should have known of the risks associated with consumption of

24 excess zinc, B&L failed to disclose any risks associated with excess zinc consumption to Mrs.

25 Raskin or other consumers. B&L does nothing to warn consumers about the PreserVision risks on

26 its website, on the PreserVision packaging or labels, or anywhere else. Specifically, and without

27 limitation, B&L failed to provide any warning to Mrs. Raskin or other consumers that:

28          The Recommended Dietary Allowance of zinc for women is 8mg per day.

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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1          PreserVision contains more than 700% of the Recommended Dietary Allowance for zinc.
 2          Excess zinc consumption can cause copper deficiency and copper deficiency myelopathy.
 3          Excess zinc consumption is the leading cause of copper deficiency myelopathy.
 4          Copper deficiency myelopathy can have debilitating, disabling, life-altering and permanent
 5           effects.
 6 20.       To     the    contrary,   B&L
 7 promotes only the potential positive

 8 effects of high dose zinc. A page on

 9 B&L’s website titled “Ingredients

10 Matter,” promotes the benefits of

11 high dose zinc:

12 21.       Mrs.         Raskin       began
13 purchasing and taking PreserVision in July 2018. Mrs. Raskin would typically purchase the

14 PreserVision at a Walgreens store in San Francisco. As recommended by B&L, Mrs. Raskin took

15 2 capsules daily, one in the morning and one at night, consuming the full 80mg dose of zinc seven

16 days a week. Mrs. Raskin continued to consume 2 PreserVision capsules daily well into the year

17 2022, a period of almost four years.

18 22.       As a result of a severe copper deficiency caused by excess zinc consumption associated
19 with PreserVision, Mrs. Raskin developed copper deficiency myelopathy. Her symptoms began in

20 or about the summer of 2021 and were progressive, severe, and disabling. Her progressive

21 symptoms included and continue to include, without limitation: gait ataxia (a disorder that affects

22 the ability to coordinate movements needed for normal walking resulting in poor balance, unsteady

23 walking, clumsiness, and falls), distal weakness in her arms, proximal weakness in her legs,

24 numbness in her extremities and buttocks, and sensory deficits in her abdomen.

25 23.       On May 23, 2022, Mrs. Raskin’s treating neurologist at UCSF noted in her medical record
26 that the cause of her copper deficiency myelopathy and all its associated symptoms was excess zinc

27 consumption from the PreserVision supplement Mrs. Raskin was taking to prevent macular

28 degeneration. Mrs. Raskin did not suspect, nor would a reasonable person have suspected, that her

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                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
       Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 7 of 25




 1 condition was caused by PreserVision and/or the tortious nature of B&L’s and WALGREENS’

 2 conduct until less than two years before the filing of this complaint.

 3 24.      As a direct and proximate result of DEFENDANTS’ designing, manufacturing, selling

 4 and/or failing to warn of the dangers of an unsafe product, negligence, carelessness, and/or

 5 recklessness, Mrs. Raskin suffered serious bodily conditions and injuries, including copper

 6 deficiency, as well as copper deficiency myelopathy and all its associated debilitating symptoms

 7 described above, all of which has required extensive medical and other related care and will

 8 necessitate a lifetime of future medical and other related care.

 9 25.      As a further direct and proximate result of DEFENDANTS’ designing, manufacturing,

10 selling and/or failing to warn of the dangers of an unsafe product, negligence, carelessness, and/or

11 recklessness, Mrs. Raskin has incurred and will to continue to incur all past and future economic

12 damages allowed by law in amounts according to proof at trial, including but not limited to past

13 and future medical, therapeutic, and other necessary care and other expenses, past and future lost

14 earnings, lost earning capacity, and past and future loss of ability to provide household services.

15 26.      As a further direct and proximate result of DEFENDANTS’ designing, manufacturing,

16 selling and/or failing to warn of the dangers of an unsafe product, negligence, carelessness, and/or

17 recklessness, Mrs. Raskin has incurred and will continue to incur all past and future non-economic

18 damages allowed by law in amounts according to proof at trial, including but not limited to past

19 and future physical pain and suffering, mental anguish and emotional distress, frustration,

20 annoyance, anger, fear, worry, embarrassment, discomfort, and loss of enjoyment of life.

21 27.      As a further direct and proximate result of DEFENDANTS’ designing, manufacturing,

22 selling and/or failing to warn of the dangers of an unsafe product, negligence, carelessness, and/or

23 recklessness, Mr. Raskin suffered and will suffer the past and future loss of his spouse’s support,

24 services, companionship, love, affection, society, solace, moral support, physical assistance in the

25 operation and maintenance of their home, and all other elements of consortium, all to his damage in a

26 sum within the jurisdiction of this Court and to be shown according to proof at trial.

27 / / /

28 / / /

                                                       -6-
                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
       Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 8 of 25




 1                                      FIRST CAUSE OF ACTION

 2                                                Negligence

 3                                       Against All DEFENDANTS

 4 28.      Plaintiffs refer to, incorporate, and re-allege by this reference the preceding paragraphs of

 5 this Complaint as though set forth here in their entirety.

 6 29.      DEFENDANTS’ acts and omissions were negligent.
 7 30.      Both Plaintiffs were harmed.
 8 31.      DEFENDANTS’ conduct was a substantial factor in causing each Plaintiff’s harm.
 9                                    SECOND CAUSE OF ACTION
10     Strict Products Liability: Design Defect, Manufacturing Defect, and/or Failure to Warn
11                                       Against All DEFENDANTS
12 32.      Plaintiffs refer to, incorporate, and re-allege by this reference the preceding paragraphs of
13 this Complaint as though set forth here in their entirety.

14 33.      At all relevant times, DEFENDANTS designed, manufactured, distributed, and/or sold

15 PreserVision.

16 34.      PreserVision harmed Mrs. Raskin. The harm PreserVision caused to Mrs. Raskin in turn harmed

17 Mr. Raskin.

18 35.      Mrs. Raskin used PreserVision in the way DEFENDANTS intended it to be used.
19 Specifically, as recommended by DEFENDANTS, Mrs. Raskin took two PreserVision pills daily.

20 36.      PreserVision did not perform as safely as an ordinary consumer would have expected it to

21 perform when used in an intended way.

22 37.      PreserVision did not perform as safely as Mrs. Raskin expected it to perform when used in the

23 way DEFENDANTS intended it to be used.

24 38.      PreserVision’s design was a substantial factor in causing harm to both Mrs. and Mr. Raskin.

25 39.      PreserVision had potential risks and side effects that were, at all relevant times, known or

26 knowable by DEFENDANTS considering the scientific and medical knowledge that was generally

27 accepted in the scientific community at the time DEFENDANTS designed, manufactured, distributed,

28 and/or sold PreserVision.

                                                       -7-
                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
       Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 9 of 25




 1 40.      PreserVision’s potential risks and side effects included copper deficiency, copper deficiency

 2 myelopathy, and all the debilitating neurological and other conditions and symptoms associated with

 3 copper deficiency and copper deficiency myelopathy. PreserVision’s potential risks and side effects

 4 presented a substantial danger when PreserVision is used in an intended way.

 5 41.      Ordinary consumers would not have recognized the potential risks and side effects. Mrs.

 6 Raskin did not recognize the potential risks and side effects.

 7 42.      DEFENDANTS failed to provide any warnings, much less adequate warnings, of

 8 PreserVision’s potential side effects.

 9 43.      PreserVision’s failure to perform safely was a substantial factor in causing both Mrs. and

10 Mr. Raskin’s respective harms.

11 44.      PreserVision’s design was a substantial factor in causing both Mrs. and Mr. Raskin’s

12 respective harms.

13 45.      DEFENDANTS’ failure to provide warnings, much less adequate warnings, was a

14 substantial factor in causing both Mrs. and Mr. Raskin’s respective harms.

15                                     THIRD CAUSE OF ACTION

16     Negligent Products Liability: Design Defect, Manufacturing Defect, and Failure to Warn
17                                          Against All Defendants
18 46.      Plaintiffs refer to, incorporate, and re-allege by this reference the preceding paragraphs of
19 this Complaint as though set forth here in their entirety.

20 47.      At all relevant times, DEFENDANTS designed, manufactured, distributed, and/or sold

21 PreserVision.

22 48.      DEFENDANTS knew or should have known about the likelihood and severity of potential
23 harm that the excess zinc consumption associated with PreserVision could cause.

24 49.      DEFENDANTS failed to use the amount of care in designing, manufacturing, supplying
25 and/or selling PreserVision that a reasonably careful designer, manufacturer, supplier, or seller

26 would use in similar circumstances to avoid exposing others to a foreseeable risk of harm.

27 50.      DEFENDANTS knew or should have known that PreserVision was dangerous or was likely
28 to be dangerous when used in an intended way.

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                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
      Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 10 of 25




 1 51.      DEFENDANTS knew or should have known that users of PreserVision would not realize

 2 or recognize that danger.

 3 52.      DEFENDANTS failed to provide any warnings, much less adequate warnings, of

 4 PreserVision’s potential side effects and harm.

 5 53.      A reasonably careful designer, manufacturer, supplier, or seller under the same or similar

 6 circumstances would have warned of the dangers associated with excess zinc consumption.

 7 54.      Both Plaintiffs were harmed.

 8 55.      DEFENDANTS’ negligence and failure to warn was a substantial factor in causing each

 9 Plaintiff’s respective harms.

10                                    FOURTH CAUSE OF ACTION

11                                           Loss of Consortium
12                                          Against All Defendants
13 56.      Plaintiffs refer to, incorporate, and re-allege by this reference the preceding paragraphs of
14 this Complaint as though set forth here in their entirety.

15 57.      As a direct and proximate result of DEFENDANTS’ designing, manufacturing, selling
16 and/or failing to warn of the dangers of an unsafe product, negligence, carelessness, and/or

17 recklessness, Mr. Raskin suffered and will suffer the past and future loss of his spouse’s support,

18 services, companionship, love, affection, society, solace, moral support, physical assistance in the

19 operation and maintenance of their home, and all other elements of consortium, all to his damage in a

20 sum within the jurisdiction of this Court and to be shown according to proof at trial.

21 / / /

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                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 11 of 25




 1                                   PRAYER FOR RELIEF

 2        WHEREFORE, Plaintiffs pray for judgment against DEFENDANTS as follows:

 3 A.    For past and future general damages according to proof against all DEFENDANTS;

 4 B.    For past and future special damages according to proof against all DEFENDANTS;

 5 C.    For loss of consortium damages according to proof against all DEFENDANTS;

 6 D.    For costs of suit against all DEFENDANTS;

 7 E.    For pre-judgment and post-judgment interest; and

 8 F.    For such other and further relief as this Court may deem just and proper.

 9 DATED: May 1, 2024                      THE VEEN FIRM, LLP

10

11
                                           By:
12                                               Theo Emison
                                                 Attorneys for Plaintiffs
13

14                                 DEMAND FOR JURY TRIAL

15       Plaintiffs demand a trial by jury on their cause of action against DEFENDANTS.

16 DATED: May 1, 2024                      THE VEEN FIRM, LLP
17

18
                                           By:
19                                               Theo Emison
                                                 Attorneys for Plaintiffs
20

21

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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 12 of 25


 Anthony L. Label/Theo Emison                     SBN: 205920/209183
 The Veen Firm, LLP
 20 Haight Street, San Francisco, CA 94102
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                   Valerie Raskin and Neil Raskin                      ELECTRONICALLY
                                               SAN FRANCISCO               FILED
               400 McAllister Street                                   Superior Court of California,
                                                                        County of San Francisco
               400 McAllister Street
               San Francisco, 94102-4515                                   05/02/2024
               Civic Center Courthouse                                 Clerk of the Court
                                                                          BY: SHENEQUA GLADNEY
            Raskin v. Bausch & Lomb, Inc., et al.                                   Deputy Clerk


                                                                             CGC-24-614359
 X




     X




                          X




                                              X
                                         4
                           X

        May 2, 2024
Anthony L. Label/Theo Emison
Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 13 of 25
                                  Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 14 of 25
                                                                                                                                                                  POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                               FOR COURT USE ONLY
    ANTHONY L. LABEL (SBN 205920);THEO EMISON (SBN 209183); STEVEN A. KRONENBERG (SBN 215541)
    THE VEEN FIRM, LLP
    20 Haight Street
    San Francisco, California 94102
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   TELEPHONE NO.: (415) 673-4800 | FAX NO. | E-MAIL ADDRESS t.emison@VeenFirm.com                                                           FILED
     ATTORNEY FOR (Name): Plaintiffs: VALERIE RASKIN, et al.                                                                           Superior Court of California,
                                                                                                                                        County of San Francisco
 Superior Court of California, County of San Francisco
         STREET ADDRESS: 400 McAllister Street Rm 103
                                                                                                                                             07/10/2024
                                                                                                                                        Clerk of the Court
         CITY AND ZIP CODE: San Francisco, CA 94102                                                                                         BY: YOLANDA TABO
                                                                                                                                                      Deputy Clerk
             BRANCH NAME:


      PLAINTIFF/PETITIONER: VALERIE RASKIN, et al.
                                                                                                                    CASE NUMBER:
DEFENDANT/RESPONDENT: BAUSCH & LOMB, INC., et al.
                                                                                                                    CGC-24-614359

                                                                                                                    Ref. No. or File No.:
                                           PROOF OF SERVICE OF SUMMONS                                                                      Raskin 5062
                                                   (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.     Summons
   b.     Complaint
   c.     Alternative Dispute Resolution (ADR) package
   d.     Civil Case Cover Sheet
   e.     Cross-Complaint
   f.     other (specify documents): NOTICE TO PLAINTIFF; NOTICE OF POSTING JURY FEES
3. a. Party served (specify name of party as shown on documents served):
    BAUSCH & LOMB, INC.

    b.        Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         United Agent Group Inc., Registered Agent by serving Jennifer Lee - Admin Assistant & Authorized Agent
                                  Age: 35 | Weight: 200 Lbs. | Hair: Black | Sex: Female | Height: 5'5" | Eyes: Brown | Race: Asian
4. Address where the party was served: 7801 Folsom Blvd Ste 202
                                                           Sacramento, CA 95826-2620
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 7/10/2024 (2) at (time): 12:24 PM
    b.        by substituted service. On (date): at (time): I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3):

             (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                         person to be served. I informed him of her of the general nature of the papers.
             (2)         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                         abode of the party. I informed him or her of the general nature of the papers.
             (3)         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                         address of the person to be served, other than a United States Postal Service post office box. I informed him of
                         her of the general nature of the papers.
             (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                         place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                         (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)         I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                                    Page 1 of 2
Form Approved for Mandatory Use                                                                                                                Code of Civil Procedure, § 417.10
Judicial Council of California                                    PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                      POS010-1/SF214237
                         Case
          PETITIONER: VALERIE    3:24-cv-04879-AMO
                              RASKIN, et al.                             Document 1-1 Filed 08/08/24CASE
                                                                                                      Page  15 of 25
                                                                                                         NUMBER:

                                                                                                                       CGC-24-614359
      RESPONDENT: BAUSCH & LOMB, INC., et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of BAUSCH & LOMB, INC.
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                          415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                  416.60 (minor)
                                   416.30 (joint stock company/association)      416.70 (ward or conservatee)
                                   416.40 (association or partnership)           416.90 (authorized person)
                                   416.50 (public entity)                        415.46 (occupant)
                                                                                 other:

7. Person who served papers
   a. Name: Michael Barber - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2022-028
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 7/10/2024
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                  Michael Barber
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF214237
                                  Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 16 of 25
                                                                                                                                                          POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                       FOR COURT USE ONLY
   ANTHONY L. LABEL (SBN 205920)
   THEO EMISON (SBN 209183)
   STEVEN A. KRONENBERG (SBN 215541)
   THE VEEN FIRM, LLP
   20 Haight Street, San Francisco, California 94102
   Tel: (415) 673-4800
   Fax: (415) 771-5845
   al.team@veenfirm.com
   ATTORNEY FOR (Name): Plaintiffs: VALERIE RASKIN, et al.
                                                                                                                               ELECTRONICALLY
 Superior Court of California, County of San Francisco
         STREET ADDRESS: 400 McAllister Street
                                                                                                                                    FILED
                                                                                                                               Superior Court of California,
         CITY AND ZIP CODE: San Francisco, CA 94102                                                                             County of San Francisco

            BRANCH NAME:
                                                                                                                                     07/22/2024
                                                                                                                                Clerk of the Court
      PLAINTIFF/PETITIONER: VALERIE RASKIN, et al.                                                                                  BY: YOLANDA TABO
                                                                                                            CASE NUMBER:
DEFENDANT/RESPONDENT: BAUSCH & LOMB, INC., et al.                                                                                             Deputy Clerk
                                                                                                            CGC-24-614359

                                                                                                            Ref. No. or File No.:
                                      PROOF OF SERVICE OF SUMMONS                                                                   Raskin 5062
                                           (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.     Summons
   b.     Complaint
   c.     Alternative Dispute Resolution (ADR) package
   d.     Civil Case Cover Sheet
   e.     Cross-Complaint
   f.     other (specify documents): NOTICE TO PLAINTIFF; NOTICE OF POSTING JURY FEES
3. a. Party served (specify name of party as shown on documents served):
    WALGREENS

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         CSC-Lawyers Incorporating Service, Registered Agent by serving Rebecca Vang - Customer Service
         Liaison & Authorized Agent
                         Age: 36-40 | Weight: 121-140 Lbs | Hair: Brown | Sex: Female | Height: 5'1 - 5'6 | Eyes: Brown | Race: Asian
4. Address where the party was served: 2710 Gateway Oaks Dr Ste 150N
                                                 Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 7/10/2024 (2) at (time): 8:48 AM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
Judicial Council of California                          PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                              POS010-1/SF214241
                         Case
          PETITIONER: VALERIE    3:24-cv-04879-AMO
                              RASKIN, et al.                             Document 1-1 Filed 08/08/24CASE
                                                                                                      Page  17 of 25
                                                                                                         NUMBER:

                                                                                                                       CGC-24-614359
      RESPONDENT: BAUSCH & LOMB, INC., et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of WALGREENS
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                          415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                  416.60 (minor)
                                   416.30 (joint stock company/association)      416.70 (ward or conservatee)
                                   416.40 (association or partnership)           416.90 (authorized person)
                                   416.50 (public entity)                        415.46 (occupant)
                                                                                 other:

7. Person who served papers
   a. Name: D’Angelo Emiliano Contreras - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ .00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2022-030
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 7/11/2024
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                         D’Angelo Emiliano Contreras
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




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                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF214241
                             Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 18 of 25
                                                                                                                                                              POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
    THEO EMISON | SBN: 209183
    THE VEEN FIRM, PC
    20 Haight Street San Francisco, CA 94102
   TELEPHONE NO.: (415) 673-4800 | FAX NO. | E-MAIL ADDRESS t.emison@VeenFirm.com
    ATTORNEY FOR (Name): Plaintiffs: VALERIE RASKIN, et al.

                                                                                                                                   ELECTRONICALLY
 Superior Court of California, County of San Francisco
         STREET ADDRESS: 400 McAllister Street Rm 103
                                                                                                                                        FILED
                                                                                                                                   Superior Court of California,
         CITY AND ZIP CODE: San Francisco, CA 94102                                                                                 County of San Francisco

            BRANCH NAME:
                                                                                                                                         07/22/2024
                                                                                                                                    Clerk of the Court
   PLAINTIFF/PETITIONER: VALERIE RASKIN, et al.                                                                                         BY: YOLANDA TABO
                                                                                                                CASE NUMBER:
DEFENDANT/RESPONDENT: BAUSCH & LOMB, INC., et al.                                                                                                 Deputy Clerk
                                                                                                                CGC-24-614359

                                                                                                                Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                     Raskin 5062
                                               (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.     Summons
   b.     Complaint
   c.     Alternative Dispute Resolution (ADR) package
   d.     Civil Case Cover Sheet
   e.     Cross-Complaint
   f.     other (specify documents): NOTICE TO PLAINTIFF; NOTICE OF POSTING JURY FEES
3. a. Party served (specify name of party as shown on documents served):
    WALGREENS BOOTS ALLIANCE, INC.

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Illinois Corporation Service Company, Registered Agent, by serving Tonya Purnell - Agent for service
                      Age: 59 | Weight: 190 | Hair: Black/Grey | Sex: Female | Height: 5'5" | Eyes: Wearing Glasses | Race: Caucasian
4. Address where the party was served: 801 Adlai Stevenson Dr
                                                      Springfield, IL 62703-4261
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 7/10/2024 (2) at (time): 12:20 PM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                                Page 1 of 2
Form Approved for Mandatory Use                                                                                                            Code of Civil Procedure, § 417.10
Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                  POS010-1/SF214244
                        CaseRASKIN,
          PETITIONER: VALERIE 3:24-cv-04879-AMO
                                    et al.                             Document 1-1 Filed 08/08/24 CASE
                                                                                                    PageNUMBER:
                                                                                                          19 of 25
                                                                                                                       CGC-24-614359
      RESPONDENT: BAUSCH & LOMB, INC., et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                         (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:
     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of WALGREENS BOOTS ALLIANCE, INC.
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                          415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                  416.60 (minor)
                                   416.30 (joint stock company/association)      416.70 (ward or conservatee)
                                   416.40 (association or partnership)           416.90 (authorized person)
                                   416.50 (public entity)                        415.46 (occupant)
                                                                                 other:
7. Person who served papers
   a. Name: Barbara A West - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1625 Clay Street 4th Floor Oakland, CA 94612
   c. Telephone number: (510) 444-4690
   d. The fee for service was: $ 247.00
   e. I am:
          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                 employee            independent contractor.
                  (ii) Registration No.: 117-001119
                  (iii) County:

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 7/12/2024
                Nationwide Legal, LLC
                1625 Clay Street 4th Floor
                Oakland, CA 94612
                (510) 444-4690
                www.nationwideasap.com



                                  Barbara A West
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                  (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/SF214244
                                          Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 20 of 25



                                      1   PAUL CALEO (SBN 153925)
                                          pcaleo@grsm.com
                                      2   EMILY GENGE (SBN 318706)
                                          egenge@grsm.com
                                      3   GORDON REES SCULLY MANSUKHANI, LLP
                                          100 Pringle Avenue, Suite 300
                                      4   Walnut Creek, CA 94596
                                          Telephone: (510) 463-8600
                                      5   Facsimile: (510) 984-1721

                                      6   Attorneys for Defendants
                                          WALGREEN CO. (erroneously sued as WALGREENS) and
                                      7   WALGREENS BOOTS ALLIANCE, INC.

                                      8
                                                                     SUPERIOR COURT OF CALIFORNIA
                                      9
                                                                           COUNTY OF SAN FRANCISCO
                                     10

                                     11
Gordon Rees Scully Mansukhani, LLP




                                          VALERIE RASKIN; and, NEIL RASKIN,                  Case No.: CGC-24-614359
   100 Pringle Avenue, Suite 300




                                     12
     Walnut Creek, CA 94596




                                                                           Plaintiff,
                                     13                                                      DEFENDANTS WALGREEN CO. AND
                                                 v.                                          WALGREENS BOOTS ALLIANCE, INC.’S
                                     14                                                      ANSWER TO PLAINTIFFS’ COMPLAINT
                                          BAUSCH & LOMB, INC.; WALGREENS;
                                     15   WALGREENS BOOTS ALLIANCE, INC.
                                          and DOES 1 through 100, inclusive.
                                     16
                                                                           Defendants.       Complaint Filed:     May 2, 2024
                                     17                                                      Trial:               Not Assigned
                                     18

                                     19          Defendants WALGREEN CO. (erroneously sued as WALGREENS) and WALGREENS
                                     20   BOOTS ALLIANCE, INC. (“Defendants”) answers the Complaint (“Complaint”) of Plaintiffs
                                     21   VALERIE RASKIN and NEIL RASKIN (“Plaintiffs”) as follows:
                                     22                                            GENERAL DENIAL
                                     23          Pursuant to California Code of Civil Procedure § 431.30, Defendants hereby generally
                                     24   deny each, every, and all of the allegations of Plaintiffs, each cause of action therein, and the
                                     25   whole thereof. Further answering Plaintiffs’ complaint and each cause of action therein,
                                     26   Defendants deny that Plaintiffs have been or will be damaged or injured in the sums alleged, or
                                     27   in any other sums, or at all, by reason of any conduct on the part of Defendants or Defendants’
                                     28   officers, agents or employees.
                                                                                         1
                                               DEFENDANTS WALGREEN CO. AND WALGREENS BOOTS ALLIANCE, INC.’S ANSWER TO
                                                                       PLAINTIFFS’ COMPLAINT
                                          Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 21 of 25



                                      1                                     AFFIRMATIVE DEFENSES

                                      2          In addition, Defendants assert the following separate and independent affirmative

                                      3   defenses and prays for judgment as set forth below. Defendants have not yet completed a

                                      4   thorough investigation or undertaken discovery of the facts and circumstances of the subject

                                      5   matter of the Complaint, and accordingly, reserves the right to amend, modify, revise or

                                      6   supplement this Answer, and to plead such further defenses and take such further actions as it

                                      7   may deem proper and necessary in its defense upon further investigation and discovery.

                                      8                                 FIRST AFFIRMATIVE DEFENSE

                                      9                                       COMPARATIVE FAULT
                                     10          As a first affirmative defense to each cause of action of the Complaint, Plaintiffs were

                                     11   partially, if not wholly, negligent or otherwise at fault on their own part and should be barred
Gordon Rees Scully Mansukhani, LLP
   100 Pringle Avenue, Suite 300




                                     12   from recovery of that portion of the damages directly attributable to his proportionate share of
     Walnut Creek, CA 94596




                                     13   the negligence or fault, pursuant to the doctrine of comparative negligence.

                                     14                                SECOND AFFIRMATIVE DEFENSE

                                     15                                         FAULT OF OTHERS

                                     16          As a second affirmative defense to each cause of action of the Complaint, the damages

                                     17   sustained by Plaintiffs, if any, were caused, in whole or in part, by the negligence or fault of

                                     18   others for which these Defendants are not liable or responsible.

                                     19                                 THIRD AFFIRMATIVE DEFENSE
                                     20                                FAIL TO STATE CAUSE OF ACTION

                                     21          As a third affirmative defense to each cause of action of the Complaint, the complaint

                                     22   does not state facts sufficient to constitute a cause of action against these Defendants.

                                     23                                FOURTH AFFIRMATIVE DEFENSE

                                     24                                FAILURE TO MITIGATE DAMAGES

                                     25          As a fourth affirmative defense to each cause of action of the Complaint, Plaintiffs failed

                                     26   to mitigate their damages.
                                     27   ///

                                     28   ///
                                                                                            2
                                                DEFENDANTS WALGREEN CO. AND WALGREENS BOOTS ALLIANCE, INC.’S ANSWER TO
                                                                        PLAINTIFFS’ COMPLAINT
                                          Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 22 of 25



                                      1                                FIFTH AFFIRMATIVE DEFENSE

                                      2                       REASONABLE VALUE OF MEDICAL SERVICES

                                      3          As a fifth affirmative defense to each cause of action of the Complaint, Plaintiffs’

                                      4   recoverable economic damages for past and future medical treatment and/or services, if any, is

                                      5   limited to the reasonable value of the treatment and/or services, rather than what was billed by

                                      6   the medical providers.

                                      7                                SIXTH AFFIRMATIVE DEFENSE

                                      8                                 IMPROPER USE OF PRODUCT

                                      9          As a sixth affirmative defense to each cause of action of the Complaint, if Plaintiffs
                                     10   sustained injuries attributable to the use of any product manufactured, designed and/or sold by

                                     11   these Defendants, which allegations are expressly denied, the injuries were caused in whole or in
Gordon Rees Scully Mansukhani, LLP
   100 Pringle Avenue, Suite 300




                                     12   part by the unreasonable, unforeseeable and inappropriate purpose and/or improper use which
     Walnut Creek, CA 94596




                                     13   was made of the product.

                                     14                                seventh AFFIRMATIVE DEFENSE

                                     15                               MISUSE AND ABUSE OF PRODUCT

                                     16          As a eighth affirmative defense to each cause of action of the Complaint, the damages

                                     17   complained of in the Complaint were caused in whole or in part by the misuse and abuse of the

                                     18   product.

                                     19                               EIGHTH AFFIRMATIVE DEFENSE
                                     20                                 MODIFICATION OF PRODUCT

                                     21          As a eighth affirmative defense to each cause of action of the Complaint, the injuries and

                                     22   damages sustained by Plaintiffs, if any, were solely and legally caused by the modification,

                                     23   alteration or change of the product referred to in the complaint and said modification, alteration

                                     24   or change was performed by persons or entities other than these answering Defendants and

                                     25   without its knowledge or consent.

                                     26   ///
                                     27   ///

                                     28   ///
                                                                                          3
                                                DEFENDANTS WALGREEN CO. AND WALGREENS BOOTS ALLIANCE, INC.’S ANSWER TO
                                                                        PLAINTIFFS’ COMPLAINT
                                          Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 23 of 25



                                      1                                 NINTH AFFIRMATIVE DEFENSE

                                      2                                      UNKNOWN DEFENSES

                                      3          As a ninth affirmative defense to each cause of action of the Complaint, Defendants

                                      4   presently have insufficient knowledge or information on which to form a belief as to whether

                                      5   they may have additional, as yet unstated, defenses available. Defendants reserve herein the right

                                      6   to assert additional defenses in the event discovery indicates that they would be appropriate.

                                      7                                    RESERVATION OF RIGHTS

                                      8          Defendants hereby give notice that it intends to rely upon any additional affirmative

                                      9   defenses that becomes available or apparent during discovery and thus reserve the right to amend
                                     10   its answer to assert such additional defenses as discovery proceeds.

                                     11                                               PRAYER
Gordon Rees Scully Mansukhani, LLP
   100 Pringle Avenue, Suite 300




                                     12          WHEREFORE, Defendants pray as follows:
     Walnut Creek, CA 94596




                                     13          1.      That Plaintiffs’ Complaint, and the whole thereof, be dismissed with prejudice;

                                     14          2.      That Plaintiffs take nothing by reason of the Complaint;

                                     15          3.      That judgment is rendered in favor of Defendants and against Plaintiffs;

                                     16          4.      That Defendants be awarded its attorneys’ fees and costs of suit incurred in

                                     17   defense of this action; and

                                     18          5.      For such other relief as the Court deems just and proper.

                                     19                                     JURY TRIAL DEMANDED
                                     20          Defendants hereby demands a trial by jury.

                                     21
                                          Dated: August 8, 2024                         GORDON REES SCULLY MANSUKHANI, LLP
                                     22

                                     23                                                 By:
                                                                                               Paul Caleo
                                     24                                                        Emily Genge
                                                                                               Attorneys for Defendants
                                     25                                                        WALGREEN CO. and
                                                                                               WALGREENS BOOTS ALLIANCE, INC.
                                     26
                                     27

                                     28
                                                                                           4
                                               DEFENDANTS WALGREEN CO. AND WALGREENS BOOTS ALLIANCE, INC.’S ANSWER TO
                                                                       PLAINTIFFS’ COMPLAINT
                                           Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 24 of 25



                                      1                                        PROOF OF SERVICE
                                                                     Raskin, et al. v. Bausch & Lomb, Inc., et al.
                                      2                        San Francisco Superior Court, Case No. CGC-24-614359

                                      3            I am a resident of the State of California, over the age of eighteen years, and not a party
                                           to the within action. My business address is: Gordon Rees Scully Mansukhani, LLP, 100 Pringle
                                      4    Avenue, Suite 300, Walnut Creek, CA 94596. On the date set forth below, I served the within
                                           documents:
                                      5
                                             DEFENDANTS WALGREEN CO. AND WALGREENS BOOTS ALLIANCE, INC.’S
                                      6                   ANSWER TO PLAINTIFFS’ COMPLAINT

                                      7
                                           VIA  FACSIMILE: by transmitting via facsimile the document(s) listed above to the
                                            fax number(s) set forth below on this date before 5:00 p.m.
                                      8
                                           VIA E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
                                            document(s) to be sent by electronically mailing a true and correct copy through the
                                      9  Gordon Rees Scully Mansukhani, LLP electronic mail system from my email address:
                                         khernandez@grsm.com, to the email address(s) set forth herein.
                                     10

                                     11 
                                         VIA PERSONALLY DELIVERED: by having nationwide personally deliver the
                                         document(s) listed above to the person(s) at the address(es) set forth below.
Gordon Rees Scully Mansukhani, LLP




                                          
   100 Pringle Avenue, Suite 300




                                     12    VIA USPS: by placing the document(s) listed above in a sealed envelope with
     Walnut Creek, CA 94596




                                           postage thereon fully prepaid, in United States mail in the State of California at San
                                     13  Francisco, addressed as set forth below.

                                     14 
                                         VIA FEDEX: by placing a true copy thereof enclosed in a sealed envelope, at a
                                         station designated for collection and processing of envelopes and packages for
                                         overnight delivery by FEDEX as part of the ordinary business practices of Gordon
                                     15  Rees Scully Mansukhani, LLP described below, addressed as follows:
                                     16
                                             Attorneys for Plaintiffs                     Co-Counsel for Plaintiffs
                                     17      VALERIE RASKIN and NEIL RASKIN               VALERIE RASKIN and NEIL RASKIN

                                     18      Anthony L. Label. Esq.                       Shounak S. Dharap, Esq.
                                             Theo Emison, Esq.                            Robert C. Foss, Esq.
                                     19      Steven A. Kronenberg, Esq.                   Katherine A. Rabago, Esq.
                                             THE VEEN FIRM, LLP                           ARNS DAVIS LAW
                                     20      20 Haight Street                             515 Folsom Street, 3rd Floor
                                             San Francisco, CA 94102                      San Francisco, CA 94109
                                     21      Tel: (415) 673-4800                          Tel: (415) 495-7800
                                             Fax: (415) 771-5845                          Fax: (415) 495-7888
                                     22      Email: al.team@veenfirm.com                  Email: ssd@arnslaw.com
                                                                                                 rcf@arnslaw.com
                                     23                                                          kar@arnslaw.com

                                     24

                                     25

                                     26
                                     27

                                     28


                                                                                           -5-
                                                                                 PROOF OF SERVICE
                                            Case 3:24-cv-04879-AMO Document 1-1 Filed 08/08/24 Page 25 of 25



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                                        2     Attorneys for Defendant
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                                        9
                                       10            I declare under penalty of perjury under the laws of the State of California that the above
                                            is true and correct.
                                       11
  Gordon Rees Scully Mansukhani, LLP




                                                   Executed on August 8, 2024 at Sacramento, California.
     100 Pringle Avenue, Suite 300




                                       12
       Walnut Creek, CA 94596




                                       13                                                                      Kristie Hernandez
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